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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                                                                           FILED
                          MISSOULA DIVISION                                 MAR 0 +2015
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 UNITED STATES OF AMERICA,                                               IA'
                                                       CR 14-27-M-DLC ,vI/sSoula

                     Plaintiff,
                                                      FINDINGS AND
                                                    RECOMMENDATION
        vs.                                         CONCERNING PLEA


 RYAN HATFIELD,


                     Defendant.


      The Defendant, by consent, has appeared before the undersigned pursuant to

Fed. R. Crim. P. 11 and has entered a plea of guilty to the charge of conspiring to

advertise child pornography in violation of 18 U.S.C. § 2251(d) and (e) as set forth

in the Indictment. The Defendant admits to the forfeiture allegation. After

examining the Defendant under oath, I have made the following determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him, and an

informed and voluntary admission to the allegation of forfeiture;

      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge;

      3. That the Defendant understands the allegation of forfeiture and the

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consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to whic.b. he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the offense charged and the legal basis for the

forfeiture.

       Therefore, I recommend that the Defendant be adjudged guilty of the charge

set forth in the Indictment and that sentence be imposed. I further recommend that

the agreed forfeiture be imposed against Defendant. A presentence report has

been ordered.

       This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the presentence

report.

       DATED this 4th day of March, 2015.




                                           miah C. Lynch
                                         nited States Magistrate Judge


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